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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

  DONNA M. GRITTERS;                                           )   CIVIL ACTION
                                             Plaintiff,        )
                                                               )   File No. 1:14-cv-916
                                                               )
                                             v.                )   JURY TRIAL DEMANDED
  OCWEN LOAN SERVICING, LLC;
                                                               )
  and PIERCE & ASSOCIATES, P.C.;
                                                               )   Hon. Jorge L. Alonso
                                                               )
                                             Defendants.       )   Magistrate Judge
                                                               )   Michael T. Mason


                                  JOINT STATUS REPORT

       Plaintiff Donna Gritters (“Gritters”), Defendant Ocwen Loan Servicing, LLC (“Ocwen”),

and Defendant Pierce & Associates, P.C. (“Pierce”) submit the following Joint Status Report as

ordered in this Court’s the May 6, 2018 Minute Order (Dkt. 238) as follows:

 I. SETTLEMENT

       Gritters issued a written settlement demand to both Ocwen and Pierce on May 22. Also,
       Counsel for Gritters and Ocwen have conferred over the phone on settlement since the
       last status hearing. Ocwen and Pierce will respond in writing prior to the May 29, 2018
       status hearing. Ocwen anticipates asking Gritters for a mediation in an effort to bring the
       parties closer to a settlement.

II. TRIAL PROPOSAL

       Plaintiff’s Position: Plaintiff states that the case is ready for trial and would request a
       trial date between August 15, 2018 and September 30, 2018 (or the first available date),
       with the pre-trial conference and deadlines (i.e. motions in limine) to be determined once
       the trial date is set. Plaintiff anticipates a five day jury trial.

       Ocwen’s Position: Ocwen takes no position on the time required for a trial on the claims
       against Pierce. Ocwen believes that a two-day trial would be appropriate for the claims
       against Ocwen, but that a trial date need not be set while the parties continue to discuss
       settlement and potentially mediate the remaining breach of contract and Fair Debt
       Collection Practices Act claims.

       Pierce’s Position: As explained above, Pierce will respond to the settlement demand by
       the next status. As for the trial, depending on the complexity and length of the trial on

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       the issues between Gritters and Ocwen, Pierce may seek a separate trial. In light of the
       summary judgment ruling, the remaining issues or a trial involving Pierce are narrow,
       and unrelated in most respects to the remaining claims. That said, in the event the claims
       against Pierce can be settled prior to trial, or in the event the remaining parties agree that
       the scope of the remaining trial between them is narrow, this will not be necessary.




Dated: May 24, 2018

Donna Gritters                                       Ocwen Loan Servicing, LLC

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Pierce & Associates, P.C.

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